       Case 2:23-cv-00460-SB-AGR Document 1-2 Filed 01/20/23 Page 1 of 1 Page ID #:462
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
GWENDALYN DOUGLASS, as Trustee of                                              CASE NUMBER:

RAYMOND E. DOUGLASS Revocable Trust
                                                              Plaintiff(s),
                                     v.
RELIANT LIFE SHARES LLC aka RELIANT
                                                                                              CERTIFICATION AND NOTICE
CAPITAL, et al.
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for          Bank of Utah, Trustee for Reliant Life Shares Series Statutory Trust
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                         PARTY                                                        CONNECTION / INTEREST
Reliant Life Shares, LLC                                                      Scott Grady, Member
Bank of Utah, Trustee of the Reliant Life Shares Series                       BOU Bancorp, Inc. (owner of Bank of Utah)
Statutory Trust




         January 20, 2023                                  /s/ L. Richard Walton
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Bank of Utah,Trustee ofReliant Life Shares Series Statutory Trust


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
